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                            FOR THE DISTRICT OF MARYLAND
                                      at Greenbelt

IN RE:

ZACHAIR, LTD.,                                                Case No. 20-10691-LSS

       Debtor.                                                (Chapter 11)


LAWRENCE A. KATZ, Plan Administrator,

       Plaintiff

v.                                                            Adversary Proceeding 23-00014

NABIL J. ASTERBADI, et al.,

       Defendants.




                        DECLARATION OF MAUREEN ASTERBADI

       I, Maureen Asterbadi, do hereby declare and state as follows:

       1.      I am 75 years old.

       2.      I previously worked as an RN before getting married, and have not practiced in

more than 30 years. Since getting married, I mainly spent my time on charity work, volunteering

at my children’s school, or in other part time jobs, but I primarily focused on being a homemaker

and raising my children.

       3.      My husband, Dr. Nabil Asterbadi, and I own Zachair, Ltd. (“Zachair”), the Debtor

in the litigation, as tenants by the entirety. We are also the sole shareholders.

       4.      I am a director of Zachair, but I am not and never have been involved in any of

the operations, decisions or day-to-day affairs of managing it.




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       5.      I would occasionally sign documents presented to me by my husband in my role

as director, but I often did not read them or understand what I was signing.

       6.      I executed the Corporate Resolution attached as Exhibit 1 to this Declaration

designating Dr. Asterbadi as the sole representative permitted to make decisions on behalf of

Zachair in the bankruptcy as Debtor in Possession.

       7.      I was not consulted or advised of any of the decisions made for Zachair during the

course of the bankruptcy.

       8.      I was not aware of what bankruptcy abandonment was until undersigned counsel

explained the claim to me when they were retained last year.

       9.      I did not know that the Abandonment Notice was being prepared, nor was I told

when it was filed.

       10.     I was not given the opportunity to read the Abandonment Notice prior to its filing

and I did not read it afterwards.

       11.     I did not make any decisions on behalf of Zachair as Debtor in Possession.

       12.     I do not have any information regarding why Zachair waived its right to pursue

the Avoidance Actions.

       I DECLARE UNDER THE PENALTY OF PERJURY THAT THE FOREGOING IS

TRUE AND CORRECT PURSUANT TO 28 U.S.C. 1746.

       Executed on November 3, 2023                   /s/ Maureen Asterbadi




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